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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                              Case No. 24-CR-0072 (PJS/LIB)

                    Plaintiff,
v.                                                          ORDER

JERRY HAL SALITERMAN,

                    Defendant.



     Matthew D. Greenley, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

     John C. Brink, JOHN C. BRINK, LAWYER, for defendant.

      This matter is before the Court on the defendant’s motion to continue the change

of plea hearing, currently scheduled for Friday, January 10, 2025, due to his medical

condition. ECF No. 39. The defendant is currently hospitalized, but his exact condition

and prognosis have not been disclosed, nor has a date he would be able to appear in

Court been provided.

      Based upon the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY ORDERED that:

      1.     The defendant’s motion to continue the change of plea hearing [ECF No. 39]

             is GRANTED.

      2.     Counsel for the parties are directed to inform the Court no later than Friday,

             January 24, 2025 of the physical ability of the defendant to appear in Court
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     for a plea hearing or trial and under what conditions. Counsel must

     provide written documentation from the defendant’s treating physicians

     assessing his physical condition with regard to his ability to appear in Court

     for a plea or trial, and what accommodations might be warranted.

3.   Following receipt of this documentation on January 24, 2025, the Court will

     determine whether any additional steps need to be taken, including the

     possibility of an independent medical evaluation and/or evidentiary

     hearing, prior to rescheduling the change of plea hearing.

4.   The period of time from the date of this order through March 7, 2025, shall

     be excluded from the calculation of days within which trial must commence

     under 18 U.S.C. §3161. That period of time represents “delay resulting from

     any proceeding, including any examinations, to determine the mental

     competency or physical capacity of the defendant.” and thus is excludable

     under 18 U.S.C. §3161(h)(1)(A).

5.   The plea hearing currently scheduled for January 10, 2025 and the trial

     currently scheduled for January 27, 2025 are CANCELED and will be

     rescheduled at a later date.




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Dated: January 8, 2025                          s/Patrick J. Schiltz
                                                Patrick J. Schiltz, Chief Judge
                                                United States District Court




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